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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 SMARTMATIC USA CORP., et al.,
                                                   No. 1:21-cv-02900-CJN
        Plaintiffs,

 v.

 HERRING NETWORKS, INC.,

        Defendant.

                                   [PROPOSED] ORDER

       Upon consideration of Smartmatic USA Corp., Smartmatic International Holding B.V., and

SGO Corporation Limited’s (collectively, “Smartmatic”), Motion to Strike Defendant’s Motion for

Recusal and the accompanying Memorandum In Support, and it appearing that there is good cause to

grant the Motion, it is hereby ORDERED that the Motion is GRANTED.

       It is further ORDERED that Defendant’s Motion for Recusal and the accompanying

Memorandum In Support shall be stricken.



Signed this _____ day of __________, 2023.

                                                   /s/________________________________
                                                   Magistrate Judge Moxila A. Upadhyaya
